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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                            GREENVILLE DIVISION

MEGAN NEWTON                                                                    PLAINTIFF

V.                                                              NO. 4:19-CV-65-DMB-JMV

DISCOVER BANK                                                                 DEFENDANT


                                ORDER CLOSING CASE

       On November 9, 2020, the parties, pursuant to Federal Rule of Civil Procedure 41,

“stipulate[d] that this action and all claims and defenses asserted therein be dismissed with

prejudice.” Doc #24. Accordingly, this case is CLOSED.

       SO ORDERED, this 9th day of November, 2020.

                                                  /s/Debra M. Brown
                                                  UNITED STATES DISTRICT JUDGE
